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 9

10                              IN THE UNITED STATES DISTRICT COURT

11                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13

14
     STATE OF CALIFORNIA, ex rel, XAVIER                     Case No. 17-cv-4701
15   BECERRA, in his official capacity as
     Attorney General of the State of California,
16
                                         Plaintiff, PLAINTIFF STATE OF CALIFORNIA’S
17                                                  NOTICE OF AMENDED MOTION AND
                   v.                               AMENDED MOTION FOR
18                                                  PRELIMINARY INJUNCTION;
                                                    MEMORANDUM OF POINTS AND
19   JEFFERSON B. SESSIONS, in his official         AUTHORITIES IN SUPPORT THEREOF
     capacity as Attorney General of the United
20   States; ALAN R. HANSON, in his official        Date:         December 13, 2017
     capacity as Acting Assistant Attorney          Time:         2:00 p.m.
21   General; UNITED STATES                         Dept:         2
     DEPARTMENT OF JUSTICE; and DOES                Judge:        Honorable William H. Orrick
22   1-100,                                         Trial Date:   None Set
                                                    Action Filed: 8/14/2017
23                                    Defendants.

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 1    NOTICE OF AMENDED MOTION AND AMENDED MOTION FOR PRELIMINARY INJUNCTION
 2         PLEASE TAKE NOTICE that on Wednesday, December 13, 2017, at 2:00 p.m. or as soon

 3   thereafter as it may be heard before the Honorable William H. Orrick in Courtroom 2 of the U. S.

 4   District Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco,

 5   CA 94102, Plaintiff State of California, ex rel. Xavier Becerra, California Attorney General will

 6   and does hereby move the Court pursuant to F.R.C.P. 65 for a preliminary injunction against

 7   Defendants Attorney General Jefferson Sessions, Assistant Attorney General Alan Hanson, and

 8   the United States Department of Justice, and their officers, agents, servants, employees, and

 9   attorneys, and any other persons who are in active concert or participation with them.

10         California moves the Court to enter a preliminary injunction prohibiting Defendants from

11   requiring compliance with 8 U.S.C. § 1373 as a condition for the State and its political

12   subdivisions to receive funding pursuant to the Edward Byrne Memorial Justice Assistance Grant

13   (“JAG”) program. In addition, because the State’s laws comply with Section 1373, California

14   seeks an order enjoining Defendants from interpreting or enforcing Section 1373 in such a

15   manner to withhold, terminate, or claw-back funding from, or disbar or make ineligible, the State

16   or any of its political subdivisions that apply for JAG or Community Policing Services grants on

17   account of the following state statutes: California Government Code sections 7282 et seq., 7283

18   et seq., 7284 et seq., Penal Code sections 422.93, 679.10, 679.11, California Welfare and

19   Institutions Code sections 827 and 831, and California Code of Civil Procedure section 155. This

20   Motion is based on this Notice of Motion and Motion, the Memorandum of Points and

21   Authorities, the declarations, the Request for Judicial Notice, as well as the papers, evidence and

22   records on file, and any other written or oral evidence or argument as may be presented.

23                            MEMORANDUM OF POINTS AND AUTHORITIES
24                                              INTRODUCTION
25         Plaintiff State of California, ex rel. Xavier Becerra, California Attorney General moves for

26   a preliminary injunction preventing Defendants from enforcing against the State and its political

27   subdivisions conditions requiring compliance with 8 U.S.C. § 1373 in order to receive $31.1

28   million in law enforcement funding pursuant to the Edward Byrne Memorial Justice Assistance
                                                           1
       Plaintiff’s Not. of Am. Mot. and Am. Motion for Preliminary Injunction; MPA in Support Thereof (17-cv-4701)
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 1   Grant (“JAG”) and Community Oriented Policing Services (“COPS”) grants.1 Starting with
 2   President Trump’s Executive Order No. 13768 directed at so-called “sanctuary jurisdictions,” that
 3   has already been found likely unconstitutional, the Trump Administration has sought to interpret
 4   and use Section 1373 in a constitutionally impermissible manner as a cudgel to force state and
 5   local jurisdictions to acquiesce to the President’s immigration enforcement demands. Defendants
 6   now require jurisdictions to certify compliance with Section 1373, a statute restricting federal,
 7   state, and local jurisdictions from prohibiting the exchange of information regarding an
 8   individual’s immigration and citizenship status, in order to receive grants that are unrelated to
 9   immigration enforcement.
10           Although Defendants lack constitutional and legal authority to impose the Section 1373
11   condition for JAG, under normal circumstances there would be no dispute because the State’s
12   laws comply with Section 1373. To be sure, California has enacted one group of statutes that set
13   parameters for when and how state or local law enforcement agencies (“LEAs”) may engage in
14   immigration enforcement activities—such as prolonging an individual’s ordinary release on the
15   basis of a Department of Homeland Security (“DHS”) detainer request, notifying DHS agents of
16   an individual’s release date, and informing those detainees that DHS seeks to interview of their
17   rights. But these statutes do not touch upon the activities regulated by Section 1373. California
18   has also enacted confidentiality statutes that protect residents’ personal information, including
19   immigration status information, when the State has deemed such protection necessary to
20   effectuate State and local governmental activities. All of these statutes are designed to improve
21   the public safety of all Californians by promoting relationships of trust between the State and its
22   10 million foreign-born residents and their family members, and encourage victims and witnesses
23   of crime to come forward. Reading Section 1373 as applying to the first group of statutes would
24   conflict with the text of Section 1373, while reading Section 1373 as to California’s
25   confidentiality statutes would be inconsistent with the remainder of the Immigration and
26
     1
       The FY 2017 State and Local Solicitations for JAG are Exhibits A and B, respectively, to the
27   Request for Judicial Notice accompanying this Motion. The FY 2017 COPS Application Guides
     for the Anti-Methamphetamine Program and Anti-Heroin Task Forces are Exhibits C and D,
28   respectively, to the Judicial Notice Request.
                                                     2
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 1   Naturalization Act (“INA”) and the federal government’s own handling of immigration status
 2   information. And either would violate the Tenth Amendment of the U.S. Constitution.
 3           Defendants have nevertheless indicated that at least one of California’s laws may be
 4   incompatible with Section 1373, and that other jurisdictions’ statutes and policies similar to those
 5   in California are incompatible with Section 1373. On October 12, 2017, Defendants announced
 6   preliminary assessments with respect to seven jurisdictions from which Defendants sought legal
 7   opinions validating their compliance with Section 1373. Defendants determined that five of the
 8   jurisdictions had laws or policies that appear to violate Section 1373, including one jurisdiction
 9   because it, like California, regulates the disclosure of information regarding victims of crime.
10           California too submitted a legal opinion that analyzed California’s laws and concluded that
11   the State does not violate Section 1373. The day after the State filed its initial Motion for
12   Preliminary Injunction (“PI Mot”), ECF No. 17, Defendants informed the State of their
13   determination that the recently adopted California Values Act, California Government Code
14   section 7284 et seq.,2 a law that has not taken effect yet, “may violate [Section 1373], depending
15   on how your jurisdiction interprets and applies [it].”3 Moreover, Defendants expressly stated that
16   they may take action on other California statutes. Defendants’ interpretation of Section 1373 as
17   communicated in that letter interferes with the State’s ability to submit an unqualified
18   certification of compliance with Section 1373, under penalty of perjury, that the State must do in
19   order to receive JAG funding. In addition, USDOJ will soon make awards for the COPS grants,
20   which Defendants will either deny to the State or demand that the State accept only if it assures
21   that it will comply with all applicable laws, which would include compliance with Defendants’
22   misinterpretation of Section 1373.
23           Defendants’ actions cause irreparable harm to the State’s sovereignty, public safety, and
24   operations. Congress has appropriated $28.3 million in JAG funding to California to support
25
     2
      All references to provisions in Government Code section 7284 et seq. refer to the law that was
26   chaptered on October 5, 2017, and is set to take effect on January 4, 2018.
27   3
       Defendants’ November 1, 2017 letter, which seeks to enforce Section 1373 against the Values
     Act as to FY 2016 funds already awarded, although the law was not in effect in that fiscal year,
28   leaves no doubt that the Values Act and amended TRUST Act are ripe for determination here.
                                                    3
         Plaintiff’s Not. of Am. Mot. and Am. Motion for Preliminary Injunction; MPA in Support Thereof (17-cv-4701)
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 1   criminal justice programs. Among other things, these programs support crime victims and
 2   witnesses, reduce recidivism, facilitate crime prevention education for at-risk youth, and fund
 3   other law enforcement programs. The State is also expected to receive $2.8 million pursuant to
 4   two COPS grants, grants that the State has received every year they have existed, which are used
 5   to investigate illicit drug distribution. Loss of these funds will harm public safety. But public
 6   safety will also be harmed if the State and its political subdivisions must accede to Defendants’
 7   demands in order to receive these federal dollars. Defendants’ misinterpretation of Section 1373
 8   further means that Californians will not be able to hold their state and local officials appropriately
 9   accountable for policy changes that are beyond their control—the very harm the Tenth
10   Amendment aims to prevent. To prevent these harms, a preliminary injunction is necessary.4
11                                                BACKGROUND
12           A.     Section 1373 and the INA
13           The U.S. Constitution grants Congress the power to regulate immigration and
14   naturalization. See art. I, § 8, cl. 4. Congress has done so via the comprehensive framework
15   codified in the INA. Two provisions of the INA restrict federal, state, and local governments in
16   how they may control the exchange of information regarding an individual’s immigration and
17   citizenship status. The statute relevant to this litigation is 8 U.S.C. § 1373.5 Paragraph (a) of
18   Section 1373 provides as follows:
19           Notwithstanding any other provision of Federal, State, or local law, a Federal, State,
             or local government entity or official may not prohibit, or in any way restrict, any
20           government entity or official from sending to, or receiving from [federal immigration
             authorities] information regarding the citizenship or immigration status, lawful or
21           unlawful, of any individual.
22   Paragraph (b) forbids federal, state, or local governments from prohibiting the following: (i)
23   “[s]ending [immigration status] information to, or requesting or receiving such information from
24   4
       California has also brought claims challenging Defendants’ imposition of conditions requiring
     jurisdictions to respond to DHS requests for inmates’ release dates and to provide DHS agents
25   access to detention facilities for interview purposes. See, e.g., FAC, ¶¶ 122-144. Those
     conditions are currently subject to a nationwide injunction. See City of Chicago v. Sessions, No.
26   17-cv-5720, ECF No. 78 (N.D. Ill. Sept. 15, 2017). California reserves its right to seek a
     preliminary injunction as to those conditions if the nationwide injunction is stayed or modified.
27
     5
      The other statute, 8 U.S.C. § 1644, exists in a chapter within the INA for “Restricting Welfare
28   and Public Benefits for Aliens” and contains restrictions that are encompassed by Section 1373.
                                                       4
         Plaintiff’s Not. of Am. Mot. and Am. Motion for Preliminary Injunction; MPA in Support Thereof (17-cv-4701)
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 1   [federal immigration authorities];” (ii) “[m]aintaining such information;” or (iii) “[e]xchanging
 2   such information with any other Federal, State, or local government entity.”
 3           Other provisions of the INA provide information-sharing safeguards for certain vulnerable
 4   immigrants, including those who are undocumented. For example, the INA offers protections and
 5   benefits to victims and witnesses of crime by creating specialized U-visas for those who have
 6   cooperated with law enforcement in investigating or prosecuting enumerated crimes such as
 7   domestic violence and child abuse, and T-visas for those who have cooperated in prosecuting
 8   human trafficking. Id. § 1101(a)(15)(T)-(U). Title 8, Section 1367, which was enacted as part of
 9   the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No. 104-208,
10   110 Stat. 3009-546, the same Act that created Section 1373,6 generally prohibits the “use by or
11   disclosure” of any information provided during the process of applying for U- or T-visas, or other
12   benefits available for immigrant witnesses and victims of crime, “to anyone” other than identified
13   federal departments. See 8 U.S.C. § 1367(a)(1)-(2). It also prohibits using the information
14   provided to “make an adverse determination of admissibility or deportability” for the immigrant
15   victims and witnesses of crime. Id. The INA also details a “Special Immigrant Juvenile” process,
16   through which certain abused, neglected, or abandoned undocumented immigrant children may
17   seek legal immigration status. Id. § 1101(a)(27)(J). Federal law relies on state courts to make the
18   predicate determination for youth who are eligible to apply for this status. See id.
19           B.     California’s Statutes
20           California’s laws are consistent with the INA. Relevant to this Motion are the State’s laws
21   impacted by Defendants’ interpretation of Section 1373, and arguably implicated by the Section
22   1373 conditions. These laws fit into two categories: (a) those laws that define the circumstances
23   under which LEAs may assist in immigration enforcement (the TRUTH, TRUST, and Values
24   Acts); and (b) six state statutes safeguarding confidentiality, the “State’s Confidentiality
25   Statutes”: Penal Code sections 422.93, 679.10, and 679.11, Welfare and Institutions Code
26   sections 827 and 831, and Code of Civil Procedure section 155.
27   6
      Compare id. tit. III, § 384, 110 Stat. at 3009-652-53 with id. tit. VI, § 642, 110 Stat. at 3009-
     707.
28
                                                             5
         Plaintiff’s Not. of Am. Mot. and Am. Motion for Preliminary Injunction; MPA in Support Thereof (17-cv-4701)
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 1           California has enacted these statutes to strengthen community policing efforts.7 Exercising
 2   its discretion, California has concluded that statutes like these improve public safety in light of
 3   evidence that immigrants are no more likely to commit crimes than native-born Americans,8 and
 4   that a clear distinction between local law enforcement and immigration enforcement results in
 5   safer communities. See, e.g., RJN, Exs. F at 5, G at 8; W at 8. The California Legislature has
 6   relied on law enforcement officers’ statements about the public safety benefits of practices that
 7   reduce the entanglement between their agencies and immigration enforcement. See, e.g., RJN,
 8   Exs. G at 9; X at 7. LEAs throughout the State continue to build trust between LEAs and
 9   immigrant communities so that “people could come forward if they are a crime victim or . . .
10   witness to a crime without fear of being deported.” See Decl. of L.A. Cty. Sheriff Jim McDonnell
11   in Supp. of Pl.’s Am. Mot. for Prelim. Inj. (“McDonnell Decl.”), ¶¶ 10-13; see also Compl., City
12   and Cty. of San Francisco v. Sessions, No. 17-4642 (N.D. Cal. Aug. 11, 2017) (“S.F. Compl.”) ¶¶
13   19, 28. These laws and local practices protect the public safety of all Californians, regardless of
14   immigration status. See, e.g., Cal. Gov’t Code § 7284.2(f); RJN, Ex. X at 1.
15                  1.     The TRUST, TRUTH and Values Acts
16           In 2013, California enacted the TRUST Act, Cal. Gov’t Code § 7282 et seq., which defined
17   when local LEAs could detain an individual for up to 48 hours after the person’s ordinary release
18   on the basis of a detainer request. See id. §§ 7282(c), 7282.5. The TRUST Act allowed
19   compliance with detainers if they did not “violate any federal, state, or local law, or any local
20   policy,” and the subject possessed a specified criminal background (including a prior conviction
21   of one of hundreds of crimes), was on the California Sex and Arson Registry, or was held after a
22   magistrate’s finding of probable cause for a serious or violent felony. See id. § 7282.5(a).
23           Three years later, the State enacted the TRUTH Act, Cal. Gov’t Code § 7283 et seq., which
24   increased transparency about local LEA’s involvement when federal immigration authorities seek
25   to interview someone in a jail’s custody. Under the TRUTH Act, a jail must notify such an
26
     7
      See, e.g., Cal. Gov’t Code § 7284.2(c); 2016 Cal. Legis. Serv. Ch. 768 § 2(i) (the “TRUTH
27   Act”); 2013 Cal. Legis. Serv. Ch. 570 § 1(d) (the “TRUST Act”); Cal. Penal Code § 422.93(a).
28   8
         See, e.g., 2013 Cal. Legis. Serv. Ch. 570 § 1(d) (the “TRUST Act”); RJN, Ex. E at 6.
                                                         6
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 1   individual that interviews are voluntary and the detainee has the right to seek counsel. Id. §
 2   7283.1(a). Upon receipt of a detainer, notification, or transfer request, a LEA must provide the
 3   subject a copy and inform him or her whether the LEA intends to comply. Id. § 7283.1(b).
 4           On October 5, 2017, Governor Edmund G. Brown signed into law the California Values
 5   Act, Cal. Gov’t Code § 7284 et seq., intended “to ensure effective policing, to protect the safety,
 6   well-being, and constitutional rights of the people of California, and to direct the state’s limited
 7   resources to matters of greatest concern to state and local governments.” Id. § 7284.2(f). The
 8   Values Act accomplishes these goals by generally prohibiting “[i]nquiri[es] into an individual’s
 9   immigration status,” meaning LEAs cannot ask an individual about his or her immigration status
10   for immigration enforcement purposes. See id. § 7284.6(a)(1)(A). In order to ensure compliance
11   with federal court decisions that have found Fourth Amendment violations when law enforcement
12   holds inmates beyond their ordinary release pursuant to a warrantless detainer request, the Values
13   Act prohibits compliance with such requests. See id. §§ 7284.2(e), 7284.6(a)(1)(B). The Values
14   Act amends the TRUST Act to define when LEAs have discretion to respond to “notification
15   requests,” which are requests by an immigration authority asking an LEA to inform it “of the
16   release date and time in advance of the public of an individual in its custody.” See id. §§
17   7282.5(a) (chaptered Oct. 5, 2017), 7283(f), 7284.6(a)(1)(C). LEAs may notify immigration
18   authorities about the release dates of individuals with a prior criminal conviction of one of
19   hundreds of crimes, or if the information is already “available to the public.” See id. §
20   7284.6(a)(1)(C). The Values Act also prohibits the use of LEA money or personnel to “provid[e]
21   personal information,” about an individual “for immigration enforcement purposes,” unless that
22   information is “available to the public.”9 Id. § 7284.6(a)(1)(D). This “personal information”
23   includes information about victims and witnesses of crime that a LEA would also possess.
24           Notwithstanding any of the above, the Values Act contains a savings clause that expressly
25   permits compliance with all aspects of Section 1373:
26   9
       “Personal information” is defined as “any information that is maintained by an agency that
     identifies or describes an individual, including, but not limited to, his or her name, social security
27   number, physical description, home address, home telephone number, education, financial
     matters, and medical or employment history. It includes statements made by, or attributed to, the
28   individual.” Cal. Civ. Code § 1798.3(a).
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 1         This section does not prohibit or restrict any government entity or official from
           sending to, or receiving from, federal immigration authorities, information regarding
 2         the citizenship or immigration status, lawful or unlawful, of an individual, or from
           requesting from federal immigration authorities immigration status information,
 3         lawful or unlawful, of any individual, or maintaining or exchanging that information
           with any other federal, state, or local government entity, pursuant to Sections 1373
 4         and 1644 of title 8 of the United States Code.
 5   Id. § 7284.6(e). The Values Act also explicitly does not prohibit any jurisdiction from allowing

 6   immigration authorities access to jails. Id. § 7284.6(b)(5).

 7                2.     California’s Confidentiality Statutes
 8         To ensure the proper operation of state and local criminal and juvenile justice systems, the

 9   State’s Confidentiality Statues protect, in discrete circumstances, the confidentiality of sensitive

10   information that the State and its localities collect and maintain. These Confidentiality Statutes

11   can be broken down into two subcategories. The first subcategory (Cal. Penal Code §§ 422.93,

12   679.10, 679.11) consists of statutes that protect the confidential information of victims and

13   witnesses of crime, in order to “encourag[e]” “victims of or witnesses to crime, or [those] who

14   otherwise can give evidence in a criminal investigation, to cooperate with the criminal justice

15   system.” See, e.g., id. § 422.93(a). California Penal Code sections 679.10 and 679.11 implement

16   the state and local LEA’s role in the federal U- and T-visa process by, among other things,

17   prohibiting certifying entities from “disclosing the immigration status of a victim” or other person

18   requesting certification “except to comply with federal law or legal process, or if authorized by

19   the victim or person requesting [the certification form].” Id. §§ 679.10(k), 679.11(k). These

20   confidentiality protections impact thousands of immigrants who come forward to cooperate with

21   law enforcement. For example, in 2016, the year Section 679.10 came into effect for U-visa

22   applicants, L.A. County Sheriff’s Department received double the number of U-visa applications

23   from the year before (954 in total, 80 percent of which were certified), and in 2017, L.A. County

24   has already processed 774 applications, 90 percent of which have been certified. McDonnell

25   Decl., ¶ 14. The third state statute in this subcategory, Penal Code section 422.93, protects hate-

26   crime victims or witnesses who are “not charged with or convicted of committing any crime

27   under State law” by prohibiting law enforcement from “detain[ing] the individual exclusively for

28
                                                           8
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 1   any actual or suspected immigration violation or report[ing] or turn[ing] the individual over to
 2   federal immigration authorities.” Cal. Penal Code § 422.93(b).
 3         The second subcategory of statutes (Cal. Welf. & Inst. Code §§ 827, 831; Cal. Civ. Proc.
 4   Code § 155) protects the confidential information of youth in the State’s juvenile court system.
 5   The Legislature determined that “[c]onfidentiality is integral to the operation of the juvenile
 6   system in order to avoid stigma and promote rehabilitation for all youth.” Cal. Welf. & Inst.
 7   Code § 831(a). As a general rule, juvenile court records and the information therein is
 8   confidential except to statutorily designated parties. Id. § 827; see also Cal. R. of Ct. 5.552(b)-
 9   (c). Consistent with that general requirement, the State implemented its role in the federal Special
10   Immigrant Juvenile process, through its dependency court system, by directing that “information
11   regarding the child’s immigration status . . . remain confidential and shall be available for
12   inspection only” to a handful of enumerated parties. Cal. Civ. Proc. Code § 155(c). Information
13   about a child’s immigration status in any juvenile court proceeding must “remain confidential”
14   just like all other information in the youth’s court records. See Cal. Welf. & Inst. Code § 831(e).
15         C.     The History and Purpose of JAG
16         JAG is a formula grant authorized by Congress and administered by OJP. 34 U.S.C. §§
17   10151-58. The statutory formula guarantees to each state a minimum allocation based on the
18   state’s population and violent crime rate. Id. § 10156(a). Sixty percent of a state’s total
19   allocation goes directly to the state and the remainder goes directly to local governments. Id. §
20   10156(b)(1), (d).
21         The current JAG program descended from two earlier programs. Congress created the
22   Edward Byrne Memorial State and Local Law Enforcement Assistance Program grants (“Byrne
23   Grants”) as part of the Anti-Drug Abuse Act of 1988. The purpose was “to assist States and units
24   of local government in carrying out specific programs which offer a high probability of
25   improving the functioning of the criminal justice system.” Anti-Drug Abuse Act of 1988, Pub. L.
26   No. 100-690, tit. VI, § 6091(a), 102 Stat. 4181, 4329 (1988). Between 1988 and 2006, Congress
27   identified 29 purposes for which Byrne Grants could be used. See 42 U.S.C. § 3751(b) (Dec.
28   2000) (as it existed on Jan. 4, 2006). Separately, Congress identified nine purposes for Local
                                                      9
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 1   Law Enforcement Block Grants (“LLEBG”).10 Immigration enforcement never appeared as a
 2   purpose for either the Byrne Grants or LLEBG.11
 3            In 2006, Congress merged Byrne Grant and LLEBG, creating the current JAG program,
 4   Pub. L. No. 109-162, 119 Stat. 2960, 3094 (2006), to provide state and local governments “more
 5   flexibility to spend money for programs that work for them rather than to impose a ‘one size fits’
 6   all solution.” to local law enforcement. H.R., Rep. No. 109-233, at 89 (2005). Following that
 7   merger, Congress consolidated the “purpose areas” down to eight: (A) law enforcement
 8   programs; (B) prosecution and court programs; (C) prevention and education programs; (D)
 9   corrections and community corrections programs; (E) drug treatment and enforcement programs;
10   (F) planning, evaluation, and technology improvement programs; (G) crime victim and witness
11   programs; and (H) mental health programs. 34 U.S.C. § 10152(a)(1).
12            Congress never created a “purpose area” of immigration enforcement in either the former or
13   current iterations of JAG. Only one immigration-related requirement ever existed in any iteration
14   of the JAG authorizing statute: a requirement that the chief executive officer of the recipient state
15   provide certified records of “criminal convictions of aliens.”12 Congress repealed that
16   requirement in the 2006 merger that created the current JAG program. See 34 U.S.C. § 10153(a).
17            D.      California’s Use of JAG and COPS Funds
18            California’s Board of State and Community Corrections (“BSCC”) is the State entity that
19   receives California’s allocation of JAG’s formula grant funds. The State has received $252.7
20   million pursuant to JAG since 2006, excluding funding that the federal government granted
21   directly to the State’s local jurisdictions. See Decl. of Mary Jolls in Supp. of Pl.’s Am. Mot. for
22   Prelim. Inj. (“Jolls Decl.”), ¶ 7. Based on the statutory formula, California is expected to receive
23
     10
        Local Government Law Enforcement Block Grants Act of 1995, H.R. 728, 104th Cong. (1995)
24   first authorized as part of the Dep’t of Commerce, Justice, and State, the Judiciary, and Related
     Agencies Appropriations Act of 1996, Pub. L. No. 104-134, tit. I, 110 Stat. 1321, 1321-12 (1996).
25
     11
        See Decl. of Lee Sherman in Supp. of Pl.’s Mot. for Prelim. Inj. (“Sherman Decl.”) Exs. H
26   (identifying the 29 Byrne Grant purposes), I (identifying the 9 LLEBG purposes).
27   12
       Immigration Act of 1990, Pub. L. No. 101-649, tit. V, § 507(a), 104 Stat. 4978, 5050-51
     (1990); Miscellaneous and Technical Immigration and Naturalization Amendments of 1991, Pub.
28   L. No. 102-232, tit. III, § 306(a)(6), 105 Stat. 1733, 1751 (1991) (repealed 2006).
                                                        10
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 1   approximately $28.3 million in JAG funding in FY 2017, with $17.7 million going to the BSCC.
 2   Id. ¶ 5. The BSCC uses the State’s share of the JAG award to issue subgrants to jurisdictions that
 3   propose using the funds for education and crime prevention programs, law enforcement
 4   programs, and court programs, including toward the goals of improving educational outcomes,
 5   increasing graduation rates, curbing truancy, reducing substance abuse, and curtailing
 6   delinquency and recidivism for at-risk youth and young adults. Id. ¶¶ 8, 10 & Ex. A. For
 7   example, L.A. County uses JAG funding to support anti-drug trafficking programs and
 8   investigations, intervention programs for vulnerable youth, mental health programs, and anti-gang
 9   enforcement activities. McDonnell Decl., ¶¶ 4-9. The City and County of San Francisco relies
10   on JAG to fund, among other thing, projects that seek to reduce recidivism by providing an
11   alternative to suspension and other services for at-risk juveniles and young adults. S.F. Compl., ¶¶
12   42-45. The BSCC currently funds programs for 32 local jurisdictions, as well as the California
13   Department of Justice (“CalDOJ”) to support task forces focused on criminal drug enforcement,
14   violent crime, and gang activity. Jolls Decl., ¶ 10; Decl. of Christopher Caligiuri in Supp. of Pl.’s
15   Am. Mot. for Prelim. Inj. (“Caligiuri Decl.”), ¶¶ 19-21. The BSCC plans on using FY 2017 JAG
16   funds to support programs similar to those that it has funded in the past. Jolls Decl., ¶ 11.
17         The Division of Law Enforcement (“DLE”) within CalDOJ is the State entity that receives
18   COPS competitive grants. Since the inception of the COPS program, CalDOJ has received over
19   $11 million to support law enforcement efforts around the State, including work on multi-
20   jurisdictional task forces. Caligiuri Decl., ¶ 4. For this fiscal year, CalDOJ applied for two COPS
21   grants worth $2.8 million. See id. ¶¶ 10, 16. CalDOJ applied for the COPS Anti-
22   Methamphetamine Program (“CAMP”) grant to cover salaries, benefits, and other costs to
23   continue the State’s leadership in a task force whose targeted enforcement against large-scale
24   methamphetamine drug trafficking organizations has resulted in the seizure of upwards of $60
25   million of methamphetamine, cocaine, and heroin. See id. ¶¶ 6-8, 10. CalDOJ also applied for
26   the COPS Anti-Heroin Task Force (“AHTF”) grant to cover equipment, including potentially-
27   lifesaving TruNarc handheld narcotics analyzers, consultants, and other costs in support of 14
28   heroin-related task forces that conduct large scale heroin investigations, share data and
                                                      11
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 1   intelligence among law enforcement personnel throughout the State, and hold education sessions
 2   in the community about drug abuse awareness. See id. ¶¶ 12-14, 16. CalDOJ has been awarded
 3   CAMP and AHTF grants for each year these programs have been in existence. Id. ¶¶ 5, 12.
 4         E.     JAG and COPS Requirements in Relation to Section 1373
 5         In FY 2016, USDOJ declared Section 1373 an “applicable law” for JAG, RJN, Ex. H, and
 6   specifically required BSCC to submit a legal opinion validating its compliance with Section 1373.
 7   Jolls Decl., Ex. B, ¶ 55. For FY 2017, Defendants announced that all jurisdictions receiving JAG
 8   funds must certify compliance with Section 1373. E.g., RJN, Ex. A at 1, Ex. B at 1. Each grant
 9   recipient’s chief law officer, the Attorney General in the State’s case, must sign a standard
10   affidavit, under penalty of perjury, affirming compliance with Section 1373 on behalf of the State
11   and “any entity, agency, or official” of the State as applicable to the “program or activity to be
12   funded.” RJN, Ex. A, Appx. II. The grant recipient’s chief executive officer, the Governor in the
13   State’s case, must adopt that certification, under penalty of perjury. Id., Appx. I. Grant recipients
14   must collect Section 1373 certifications from all subgrant recipients before issuing an award.
15   RJN, Ex. J, ¶ 53(2). In addition, USDOJ’s represented final award conditions require grantees to
16   monitor their subgrantees’ compliance with Section 1373 and to promptly notify OJP if any
17   subgrantee does not comply. Id. ¶¶ 53(3), 54(1)(D). USDOJ’s Financial Guide explains that
18   jurisdictions “have 45 days from the award date to accept [an] OJP . . . award document or the
19   award may be rescinded,” which includes the requisite certifications. See RJN, Ex. K, § 2.2.
20         USDOJ announced that COPS applicants for 2017 must execute a similar Section 1373
21   certification of compliance with respect to the “program or activity to be funded.” RJN, Ex. C at
22   2 & Appx. D; Ex. D at 1-2 & Appx. D. CalDOJ submitted its applications with the executed
23   certifications for AHTF and CAMP on July 7 and 10, respectively. Caligiuri Decl., ¶¶ 9, 15 &
24   Exs. B, D. As part of their applications, DLE included a supplemental statement by CalDOJ in
25   connection with the COPS Section 1373 Certifications. Id. There, CalDOJ clarified that the
26   COPS Section 1373 Certifications were made “as that federal statute is lawfully interpreted,” and
27   reserved its rights to challenge “any unconstitutional enforcement of Section 1373.” Id., Exs. B,
28   D. On September 7, 2017, USDOJ communicated to applicants that it was “committed” to
                                             12
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 1   “announcing this year’s award recipients as quickly as possible.” Sherman Decl., Ex. J. As has
 2   been required in years’ past, once CAMP and AHTF COPS awards are announced, recipients will
 3   have to execute award conditions certifying that they will comply with all applicable laws, which
 4   includes Section 1373. See Caligiuri Decl., ¶¶ 5, 13 & Exs. A, ¶ 1, C, ¶ 1. On October 23, 2017,
 5   USDOJ announced COPS awards for other programs, RJN, Ex. L, but as of the date of this filing,
 6   DLE has not received any response to its applications. See id. ¶¶ 11, 17.
 7            F.     Defendants’ Other Actions Threatening to Find the State in Violation of
                     Section 1373
 8

 9            On April 21, 2017, Defendants sent letters to nine jurisdictions that received the JAG award
10   in 2016, including the BSCC, demanding they submit an official legal opinion validating their
11   compliance with Section 1373. RJN, Exs. I, M. That same day, Defendants Sessions and USDOJ
12   both stated that the State of California has laws “that potentially violate 8 U.S.C. § 1373,” relying
13   on an Office of Inspector General Report.13 RJN, Exs. M, N. On June 29, the BSCC submitted
14   the requested legal opinion explaining the State’s laws do not violate Section 1373, focusing on
15   the applications of Section 1373 discussed in that OIG Report. See Jolls Decl., Ex. C.
16            In August 2017, Defendants informed two of the nine jurisdictions that they comply with
17   Section 1373. On October 12, 2017, Defendants announced that they made preliminary
18   compliance assessments on six of the other jurisdictions (plus one other jurisdiction). See RJN,
19   Ex. Q. Defendants announced that they found no evidence of non-compliance with Section 1373
20   as to two jurisdictions, and preliminarily determined that the remaining five appeared not to
21   comply with Section 1373. Id. For one jurisdiction’s negative preliminary determination,
22   Defendants based their determination, in part, on the jurisdiction’s protections against the
23   disclosure of crime victims’ information, see RJN, Ex. R at 1-2, which California’s laws also
24   protect against in some instances.
25

26   13
       Defendants are incorrect in claiming that the OIG Report found California in “potential”
     violation of Section 1373. The State of California was identified in the OIG report, in large part,
27   because of the relatively large amount of money it receives in federal funding from USDOJ. See
     RJN, Ex. O at 3. While the OIG Report commented about some jurisdictions’ compliance with
28   Section 1373, the report did not discuss in detail California’s law as it existed at that time.
                                                      13
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 1         Having not received a preliminary assessment letter, on October 31, California filed its
 2   initial PI Motion to prevent enforcement of the Section 1373 conditions as to the TRUTH Act and
 3   the State’s Confidentiality Statutes, but not the laws that have yet to go in effect. On November
 4   1, Defendants sent the State a preliminary compliance assessment letter asserting that three
 5   provisions of the Values Act may “violate 8 U.S.C. § 1373, depending on how [the State]
 6   interprets and applies them.” RJN, Ex. P at 1. Those are the provisions regulating: (i) inquiries
 7   into an individual’s immigration status (Gov’t Code, § 7284.6(a)(1)(A)); (ii) responses to
 8   notification requests (id. § 7284.6(a)(1)(C)); and (iii) the sharing of “personal information” (id. §
 9   7284.6(a)(1)(D)). RJN, Ex. P at 1-2. As to the first provision, Defendants said that to comply
10   with Section 1373, the State must certify it interprets that provision as “not restrict[ing] California
11   officers and employees from requesting information regarding immigration status from federal
12   immigration officers.” Id. at 2. For the notification request and personal information provisions
13   to comply with Section 1373, Defendants said the State must certify it “interprets and applies
14   these provisions to not restrict California officers from sharing information regarding immigration
15   status with federal immigration officers, including information regarding release date[s] and
16   home address[es].” Id. at 1. If the State cannot so “certify,” then “[USDOJ] has determined that
17   these provisions violate [Section 1373].” Id at 1-2. Defendants further “reserve[d] [their] right to
18   identify additional bases of potential violation of 8 U.S.C. § 1373.” Id. at 2.
19         The Administration has made additional statements suggesting it has an even broader
20   interpretation of Section 1373 than communicated in the preliminary assessment letters, and a
21   misunderstanding about California’s laws. On June 13, 2017, the Acting Director of Immigration
22   and Customs Enforcement (“ICE”), Thomas Homan, testified before Congress that jurisdictions
23   that “have some sort of policy where they don’t . . . allow [ICE] access to the jails” violate
24   Section 1373. See RJN, Ex. S at 35, 47-48. Although California’s TRUTH Act does not prohibit
25   LEAs from providing such access, Defendant Sessions has stated that “the State of California . . .
26   [has] enacted statutes . . . designed to specifically prohibit or hinder ICE from enforcing
27   immigration law by . . . denying requests by ICE officers and agents to enter prisons and jails to
28   make arrests.” RJN, Ex. T at 2.
                                                           14
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 1                                              LEGAL ARGUMENT
 2   I.         LEGAL STANDARD
 3            “The purpose of a preliminary injunction is merely to preserve the relative position of the

 4   parties until a trial on the merits can be held.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395

 5   (1981). “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

 6   the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

 7   balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

 8   Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). A preliminary injunction is “often dependent

 9   as much on the equities of [the] case as the substance of the legal issues it presents.” Trump v.

10   Int’l Refugee Assistance Project, 137 S.Ct. 2080, 2087 (2017).

11   II.      CALIFORNIA IS LIKELY TO SUCCEED ON ITS CLAIMS THAT THE JAG SECTION 1373
              CONDITION IS UNLAWFUL
12

13            Before considering whether California’s laws comply with Section 1373, the Court must

14   first determine whether Defendants may even lawfully impose the JAG Section 1373 Condition.

15   They cannot: the State is likely to succeed on its claims that this Section 1373 Condition violates

16   the Spending Clause and is arbitrary and capricious under the Administrative Procedure Act.

17            A.     The JAG Section 1373 Condition Violates the Spending Clause Because it
                     is Unrelated to the Purpose of JAG
18

19            Congress may only use its spending power to place conditions on federal funds that are

20   related “‘to the federal interest in particular national projects or programs.’” South Dakota v.

21   Dole, 483 U.S. 203, 207 (1987) (quoting Massachusetts v. United States, 435 U.S. 444, 461

22   (1978)). This Court has determined that the same test applies when the Executive Branch

23   imposes a condition by purported delegation from Congress, and that “funds conditioned on

24   compliance with Section 1373 must have some nexus to immigration enforcement.” See Cty. of

25   Santa Clara v. Trump, 250 F. Supp. 3d 497, 532 (N.D. Cal. 2017).

26            Section 1373 has no such nexus to the JAG program. Congress has never identified

27   immigration enforcement as a “purpose area” for JAG, and repealed the only immigration-

28   enforcement related condition that it had ever authorized for JAG funding. Supra at 9-10. The
                                                              15
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 1   present statute identifies eight purpose areas for JAG, which the State predominantly uses to fund
 2   community policing initiatives for crime prevention and education for at-risk youth, drug
 3   treatment and enforcement, and mental health programs. See Jolls Decl., ¶¶ 8, 10.
 4         Congress has been clear in identifying these as purposes areas to fund “criminal justice”
 5   initiatives, 34 U.S.C. § 10152, (emphasis added), whereas, immigration enforcement is generally
 6   civil in nature and predominantly the responsibility of the federal government. See Arizona v.
 7   United States, 567 U.S. 387, 396 (2012). In reinforcement of this distinction, the only
 8   immigration enforcement related condition that ever existed for JAG required jurisdictions to
 9   provide records for “criminal convictions of aliens.” Supra at 10. The Executive Branch’s
10   unilateral act to add Section 1373 as an “applicable law” violates the nexus prong of the Spending
11   Clause as it requires state and local jurisdictions to comply with a condition to support a different
12   program (the federal government’s civil immigration priorities) than the “criminal justice”
13   program being funded. 34 U.S.C. §§ 10152; see Texas v. United States, No. 15-cv-151, 2016 WL
14   4138632, at *17 (N.D. Tex. Aug. 4, 2016) (holding that a Spending Clause claim was viable
15   because a challenged health insurance fee was not “‘directly related,’ let alone ‘reasonably
16   related’” to Medicaid since its purpose was to fund a different federal program).
17         B.     Imposition of the JAG Section 1373 Condition is Arbitrary and Capricious
18         Defendants’ identification of Section 1373 as an “applicable law” for JAG is arbitrary and
19   capricious in violation of the Administrative Procedure Act. 5 U.S.C. § 706(2)(A). “[A]n agency
20   must cogently explain why it has exercised its discretion in a given manner.” Motor Vehicle
21   Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 48 (1983). Before 2016,
22   JAG was never linked to Section 1373 at any point in the nearly twenty years that Section 1373
23   has been law. In response to an inquiry by one Congressman, and without providing any
24   evidence that Congress intended for immigration enforcement to be a purpose area for JAG, in
25   2016, USDOJ declared Section 1373 an “applicable law,” with which JAG recipients must
26   comply. See RJN, Ex. H. At no point, either for FY 2016 or 2017, have Defendants “show[n]
27   that there are good reasons for the new policy.” FCC v. Fox Television Stations, Inc., 556 U.S.
28
                                                           16
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 1   502, 515 (2009); see also State Farm, 463 U.S. at 50 (“It is well established that an agency’s
 2   action must be upheld, if at all, on the basis articulated by the agency itself.”).
 3         Indeed, Defendants have put forth nothing—no studies, no reports, no analysis—to support
 4   the JAG Section 1373 Condition. The OIG Report does not discuss or contemplate how the
 5   Section 1373 Condition is consistent with the underlying goals of JAG, or Congress’ intent in
 6   adopting JAG. See Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545 U.S. 967,
 7   981 (2005) (“Unexplained inconsistency is. . . a reason for holding an interpretation to be an
 8   arbitrary and capricious change from agency practice under the Administrative Procedure Act.”);
 9   Cape May Greene, Inc. v. Warren, 698 F.2d 179, 186-87 (3d Cir. 1983) (invalidating agency
10   action on grant conditions as arbitrary and capricious where the agency sought “to accomplish
11   matters not included in that statute”). Neither do the JAG Solicitations. A general recitation of
12   “Border Security” as an area of emphasis in the JAG Solicitations, RJN, Ex. A at 11, falls “short
13   of the agency’s duty to explain why it deemed it necessary to overrule its previous position,”
14   particularly where Congress never identified Border Security as a purpose. Encino Motorcars,
15   LLC v. Navarro, 136 S.Ct. 2117, 2125, 2126 (2016); see id. (“Agencies are free to change their
16   existing policies as long as they provide a reasoned explanation for the change.”).
17         There is also nothing to suggest that Defendants considered the empirical evidence and law
18   enforcement perspectives that jurisdictions around the country, including the State and its
19   political subdivisions, have relied upon in exercise of their sovereign discretion, that policies that
20   build trust and cooperation with immigrant communities result in positive criminal enforcement
21   and safety outcomes. See, e.g., RJN, Exs. E-G, X; McDonnell Decl., ¶ 12; S.F. Compl., ¶ 28; see
22   also State Farm, 463 U.S. at 43 (“Normally, an agency rule would be arbitrary and capricious if
23   the agency has . . . entirely failed to consider an important aspect of the problem. . . .”).
24   III. CALIFORNIA IS LIKELY TO SUCCEED IN SHOWING THAT CALIFORNIA’S STATUTES
          DO NOT VIOLATE SECTION 1373
25

26         Even if the JAG Section 1373 Condition is lawful, the State is likely to succeed in showing
27   that the applicable state statutes do not conflict with Section 1373, or, alternatively, Section 1373
28   cannot be enforced against those statutes, which is relevant to both JAG and COPS. The Values,
                                                     17
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 1   TRUST, and TRUTH Acts do not regulate the activities covered by Section 1373. The State’s
 2   Confidentiality Statutes do not conflict with Section 1373 when read in the context of the rest of
 3   the INA. And reading Section 1373 to invalidate all of these statutes would constitute
 4   unconstitutional commandeering that the Tenth Amendment prohibits.
 5         A.     The Values, TRUST, and TRUTH Acts Do Not Conflict with Section 1373
 6         The TRUST, TRUTH, and Values Acts do not conflict with Section 1373 because they do
 7   not regulate the sharing of “information regarding the citizenship or immigration status” of
 8   individuals. 8 U.S.C. § 1373. The TRUTH Act simply provides transparency surrounding LEAs’
 9   interactions with ICE. The Values and amended TRUST Acts identify when LEAs have
10   discretion to respond to “notification requests,” i.e., requests for release dates. Cal. Gov’t Code
11   §§ 7282.5(a); 7284.6(a)(1)(C) (both chaptered Oct. 5, 2017). These provisions do not fall within
12   the ambit of Section 1373 because “no plausible reading of ‘information regarding . . . citizenship
13   or immigration status’ encompasses the release date of an undocumented inmate.” Steinle v. City
14   & Cty. of San Francisco, 230 F. Supp. 3d 994, 1015 (N.D. Cal. 2017).
15         In fact, the Values Act’s savings clause explicitly permits the exchange of such information
16   in complete accordance with Section 1373. See Cal. Gov’t Code § 7284.6(e). The “authoritative
17   statement” of a statute is its “plain text,” including its “savings clause.” Chamber of Commerce
18   of U.S. v. Whiting, 563 U.S. 582, 599 (2011). In light of the Values Act’s plain text, including its
19   savings clause, none of the Values Act’s provisions restrict communications on immigration
20   status information between LEAs and federal immigration authorities. For instance, the
21   prohibition on “[i]nquiring into an individual’s immigration status” means that LEAs may not ask
22   an individual about his or her immigration status, or may not ask for that information from non-
23   governmental third parties. Although Defendants suggested in their letter to the State, RJN, Ex.
24   P, that this prohibition may restrict requesting immigration status information from federal
25   officials, the savings clause makes clear that is not the case. The savings clause, however, does
26   not limit the scope of the notification request or “personal information” provisions since such
27   information, including home addresses, are not covered by Section 1373.
28
                                                           18
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 1         B.     California’s Confidentiality Statutes Do Not Conflict with Section 1373
 2         Section 1373 must be read in the context of the rest of the INA. See Davis v. Mich. Dep’t.
 3   of Treasury, 489 U.S. 803, 809 (1989) (“It is a fundamental canon of statutory construction that
 4   the words of a statute must be read in their context and with a view to their place in the overall
 5   statutory scheme.”). The INA specifically protects the confidentiality of information about those
 6   who have been victims of or witnesses to certain crimes. Section 1367(a)(2), enacted as part of
 7   the same legislative act as Section 1373, prevents federal employees from “disclos[ing] to anyone
 8   [with exceptions] any information which relates to an alien who is the beneficiary of an
 9   application for relief” under the statute, i.e. certain victims and witnesses of crime including U-
10   and T-visa recipients. The Defendants’ reading of Section 1373 would require federal employees,
11   in implementing Section 1367(a)(2)’s general disclosure prohibitions, to violate Section
12   1373(b)(3)’s prohibitions on limits to the disclosure of immigration status information from
13   federal employees to other governmental entities.
14         The INA also provides protections and support for certain juveniles. For example, the
15   “Special Immigrant Juvenile” process allows abused, abandoned and neglected immigrant youth
16   to secure lawful immigration status, demonstrating the INA’s broader concern with the long-term
17   safety of such children generally. See 8 U.S.C. § 1101(a)(27)(J). Furthermore, in implementing
18   the Deferred Action for Childhood Arrivals (“DACA”) program, United States Citizenship and
19   Immigration Services (“USCIS”) specifically determined that the information provided by DACA
20   applicants must be “protected from disclosure to ICE and CBP for the purpose of immigration
21   enforcement proceedings,” with limited exceptions. See RJN, Ex. U, Q19.
22         Accordingly, reading the text of Section 1373 in the context of the rest of the INA shows
23   that the prohibition on limiting information-sharing should not be properly interpreted to cover
24   the limited circumstances encompassed by the State’s Confidentiality Statutes. The persons
25   covered by the State’s statutes are similar classes of individuals to those that the INA (and the
26   federal government) itself seeks to protect both through confidentiality and other protections: (a)
27   victims and witnesses of crime (Cal. Penal Code §§ 422.93, 679.10(k), and 679.11(k)); and (b)
28   vulnerable youth (Cal. Civ. Proc. Code § 155(c); Welf. & Inst. Code §§ 827, 831).
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 1         The plain language of Section 1373 does not demand a different reading. The words in
 2   Section 1373 regarding the immigration status of “any individual,” must “be read in their context
 3   and with a view to their place in the overall statutory scheme.” Davis, 489 U.S. at 809. For
 4   example, in Atascadero State Hospital v. Scanlon, 473 U.S. 234 (1985), the Supreme Court read
 5   “any recipient of Federal assistance” to not include every recipient, but instead to exclude state
 6   defendants. Id. at 245-46 (emphasis in original), superseded by statute; see also Raygor v.
 7   Regents of Univ. of Minn., 534 U.S. 533, 545-46 (2002) (“any claim” did not include every claim,
 8   but instead excluded certain claims against state defendants). In this instance, “any individual”
 9   should be read in the context of the rest of the INA to exclude those individuals protected by
10   other specific sections of the INA. That is particularly so given the serious constitutional
11   questions about the statute that would otherwise arise, as discussed below. See Bond v. United
12   States, 134 S. Ct. 2077, 2089 (2014) (“‘[I]t is incumbent upon the federal courts to be certain of
13   Congress’ intent before finding that federal law overrides’ the ‘usual constitutional balance of
14   federal and state powers.’”) (quoting Gregory v. Ashcroft, 501 U.S. 452, 460 (1991)).
15         C.     The Tenth Amendment Does Not Allow for Section 1373 to Commandeer
                  the State in its Control over Governmental Employees and its Residents’
16                Confidential Personal Information
17         The Supreme Court has read the Tenth Amendment to impose recognized limits on
18   Congressional enactments. The Framers “explicitly chose a Constitution that confers upon
19   Congress the power to regulate individuals, not States” and the Constitution “has never been
20   understood to confer upon Congress the ability to require the States to govern according to
21   Congress’ instructions.” New York v. United States, 505 U.S. 144, 162, 166 (1992). As such, the
22   Supreme Court held in New York and Printz v. United States, 521 U.S. 898 (1997) that the federal
23   government may not “commandeer” state and local governments and officials “by directly
24   compelling them to enact and enforce a federal regulatory program.” Printz, 521 U.S. at 935;
25   New York, 505 U.S. at 162. Both cases advance the principles that: (i) “the federal government
26   may not compel the States to enact or administer a federal regulatory program” e.g., New York,
27   505 U.S. at 188; (ii) such coercion is impermissible where the “whole object” of the
28   Congressional action is direction of state functions, e.g., Printz, 521 U.S. at 932; and (iii) the
                                                      20
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 1   intrusion on state sovereignty is “worse” where the federal government “strips” away at state and
 2   local government’s discretion at policy-making. E.g., Printz, 521 U.S. at 927-28; see also Koog
 3   v. U.S., 79 F.3d 452, 457-60 (5th Cir. 1996). These principles ensure that state and local
 4   governments remain politically accountable to their residents. See Printz, 521 U.S. at 920, 922-
 5   23; Koog, 79 F.3d at 460-61. Reading Section 1373 to cover the Values, TRUST, and TRUTH
 6   Acts and the State’s Confidentiality Statutes violates these principles and upsets constitutional
 7   notions of political accountability. The Court should thus construe Section 1373 in a manner that
 8   prevents its “invalidation.” See Zadvydas v. Davis, 533 U.S. 678, 689 (2001) (“We have read
 9   significant limitations into other immigration statutes in order to avoid their constitutional
10   invalidation.”).
11         First, construing Section 1373 to cover these statutes would compel the State to participate
12   in the administration of a federal regulatory program of immigration enforcement. See New York,
13   505 U.S. at 176, 188. The state statutes at issue here apply to criminal and juvenile systems,
14   which the State and local governments must provide for. To comply with Defendants’ reading of
15   Section 1373, the State Legislature, in setting policy for those systems where the State’s
16   residents’ immigration status information may be relevant, would either have to make no
17   assurances about the confidentiality of that information, or affirmatively make exceptions to
18   allow for disclosure to federal immigration authorities, even when disclosure is prohibited in
19   other instances. See Cal. Penal Code §§ 679.10-.11; Cal. Civ. Proc. Code § 155(c); Cal. Welf. &
20   Inst. Code §§ 827, 831. Regardless of what the State does, it would have to act in furtherance of
21   a federal program that is not its own. Furthermore, where the whole purpose of the statute is to
22   encourage residents to report crimes (see, e.g., Cal. Penal Code §§ 422.93, 679.10-.11), or to
23   define the roles of state and local law enforcement (see, e.g., Cal. Gov’t Code §§ 7282.5(a)
24   (chaptered Oct. 5, 2017), 7283.1, 7284.6(a)(1)(C)-(D)), the enforcement of Section 1373 against
25   these statutes would force the State to surrender its own judgment regarding the public safety risk
26   of entangling local law enforcement in federal immigration matters in favor of the federal
27   government’s preference that federal immigration enforcement prevails over all other concerns.
28   This is “tantamount to forced state legislation” and coercion to administer a federal program that
                                                      21
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 1   the Tenth Amendment prohibits. See Koog, 79 F.3d at 458.
 2         Second, construing Section 1373 in a manner to negate the Values, TRUST, and TRUTH
 3   Acts and the State’s Confidentiality Statutes would make the “whole object of [Section 1373] to
 4   direct the functioning of the state executive,” see Printz, 521 U.S. at 932, by commanding solely
 5   state and local governments to allow the unfettered use of their resources and personnel to act in
 6   furtherance of a federal immigration enforcement program. Whether Section 1373 could be
 7   enforced against a categorical prohibition on sharing of immigration status information with
 8   federal immigration authorities, see City of New York v. United States, 179 F.3d 29, 35 (2d Cir.
 9   1999), is not at issue in this case. When applied to these State statutes, however, Section 1373
10   directs action at the core of the State’s sovereign power to make its own determination about how
11   to best address crime and public safety. See United States v. Morrison, 529 U.S. 598, 618 (2000)
12   (“[W]e can think of no better example of the police power, which the Founders denied the
13   National Government and reposed in the States, than the suppression of violent crime and
14   vindication of its victims.”). It is the State or its political subdivisions that have the responsibility
15   to manage detention facilities, operate the juvenile court system, certify U- or T-visa requests, and
16   receive reports from victims and witnesses of crime. If applied to these statutes, Section 1373
17   would be enforced against the use of information that “belongs to the State” and that is “available
18   to [law enforcement officers] only in their official capacity.” Printz, 521 U.S. at 932 n.17.
19   Section 1373 is, thus, inevitably an “object … to direct the functioning of the State” if the statute
20   is enforced against these aspects of the State’s sovereignty. See id. at 932; see also Romero v.
21   United States, 883 F. Supp. 1076, 1086-87 (W.D. La. 1994) (the Tenth Amendment limits
22   Congress from preempting “state regulation for the maintenance of public order” that “remove[d]
23   [the sheriff’s] ability to perform certain tasks assigned him by the state which preserve the public
24   order and therefore remove their sovereign authority to maintain public order”).
25         Third, construing Section 1373 to encompass the Values, TRUST, and TRUTH Acts and
26   the State’s Confidentiality Statutes would take away the State’s discretion in establishing policies
27   about how governmental employees may handle private information about the State’s residents
28   within the custody and control of the State and local governments, thus “worsen[ing] the intrusion
                                                      22
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 1   upon state sovereignty.” See Printz, 521 U.S. at 927-28. The State has no blanket prohibition on
 2   government employees sharing immigration status information with federal immigration
 3   enforcement agents. Instead, the State has made nuanced decisions regulating the specific
 4   circumstances where immigration status information, personal information, and release dates are
 5   protected from disclosure in general (not solely as to immigration enforcement agents), and/or the
 6   limited class of individuals to whom such protections apply. See Cal. Penal Code §§ 422.93
 7   (limited to hate crime victims and witnesses, who are not perpetrators of crime); 679.10-11
 8   (limited to U- or T-visa applicants); Cal. Civ. Proc. Code § 155(c) (limited to “Special Immigrant
 9   Juvenile” applicants); Cal. Welf & Inst. Code §§ 827 & 831 (limiting disclosure of juvenile case
10   files to all except statutorily designated parties); Cal. Gov’t Code, §§ 7282.5(a) (chaptered Oct. 5,
11   2017), 7284.6(a)(1)(C)-(D) (defining when release dates and personal information may be
12   disclosed, including when “available to the public”). The enforcement of Section 1373 as to these
13   statutes would weaken the State’s ability to regulate the actions of their own governmental
14   employees, see Gregory, 501 U.S. at 160, and “foreclose[] the State[] from experimenting and
15   exercising [its] own judgment in an area to which States lay claim by right of history and
16   expertise.” See United States v. Lopez, 514 U.S. 549, 583 (1995). “Whatever the outer limits of
17   state sovereignty may be, it surely encompasses the right to set the duties of office for state-
18   created officials and to regulate the internal affairs of government bodies.” Koog, 79 F.3d at 460
19   (citing FERC v. Mississippi, 456 U.S. 742, 761 (1982)).
20         Fourth, commandeering the State in the handling of its residents’ personal information
21   undermines state and local accountability. The U.S. Constitution’s structure of dual sovereignty
22   between the federal government and the states “reduce[s] the risk of tyranny and abuse from
23   either front.” Printz, 521 U.S. at 921 (quoting Gregory, 501 U.S. at 458). Commandeering
24   forces the states to “bear the brunt of public disapproval.” New York, 505 U.S. at 169. As the
25   Court warned in Printz, “[t]he power of the Federal Government would be augmented
26   immeasurably if it were able to impress into its service—and at no cost to itself—the police
27   officers of the 50 States.” 521 U.S. at 922. This is exactly what Defendants would be permitted
28   to accomplish if Section 1373 were construed to forbid states and localities from ensuring that
                                                    23
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 1   LEAs safeguard the confidentiality of victims’ and witness’ personal information, or to prevent
 2   the setting of boundaries on law enforcement’s involvement in immigration enforcement. Should
 3   Section 1373 be enforced as to the Values, TRUST, and TRUTH Acts and the Confidentiality
 4   Statutes, witnesses and victims will be less inclined to report crimes, see, e.g., RJN, Ex. V, and
 5   relationships between immigrant communities and state and local officials would be strained.
 6   State and local governments would “face the brunt of public disapproval,” rather than the
 7   Defendants who effectively coerced the State and localities to act according to a federal program.
 8         Although two federal courts have upheld Section 1373 against facial constitutional
 9   challenges, neither ruling is dispositive to the issues presented in this case. In fact, both decisions
10   reflect significant concern about extending Section 1373 to apply to statutes such as those at issue
11   here. In City of Chicago v. Sessions, while the district court held that there was a likelihood that
12   Section 1373 was facially constitutional, it also expressed concern about its potential applications.
13   The court noted that Section 1373 “mandate[s]” state and local governments to give employees
14   the option of providing information to federal immigration agents. 2017 WL 4081821, at *12.
15   The court found that the “practical” impact is that state and local governments are “limited [in
16   their] ability to decline to administer or enforce a federal regulatory program” and “extricate their
17   state or municipality’s involvement in a federal program.” Id.
18         In City of New York, the city argued that Section 1373 was facially unconstitutional, in part,
19   because it interfered with the use of confidential information and control over the city’s
20   employees in a range of local government functions. The Second Circuit held Section 1373
21   facially constitutional, but recognized:
22         The City’s concerns [about confidentiality] are not insubstantial. The obtaining of
           pertinent information, which is essential to the performance of a wide variety of state
23         and local governmental functions, may in some cases be difficult or impossible if
           some expectation of confidentiality is not preserved. Preserving confidentiality may
24         in turn require that state and local governments regulate the use of such information
           by their employees.
25

26   179 F.3d at 36. The Second Circuit acknowledged that the Tenth Amendment may limit Section
27   1373 from being “an impermissible intrusion on state and local power to control information
28   obtained in the course of official business or to regulate the duties and responsibilities of state and
                                                       24
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 1   local governmental employees,” but it did not consider these arguments in earnest because the
 2   city’s executive order promoted a policy of “non-cooperation while allowing City employees to
 3   share freely the information in question with the rest of the world.” See id. at 37. The Second
 4   Circuit determined that the city was attempting to transform “the Tenth Amendment’s shield
 5   against the federal government’s using state and local governments to enact and administer
 6   federal programs into a sword allowing states and localities to engage in passive resistance that
 7   frustrates federal programs.” Id. at 35.
 8         That is not so with the State’s Confidentiality Statutes, the only statutes that are arguably
 9   relevant to the grants at issue that place limited regulations on the sharing of immigration status
10   information. They either generally prohibit disclosure to a wide range of individuals, not just to
11   federal agents, or narrowly tailor the segment of the population that is protected. The same is true
12   of the notification request provision in the Values and amended TRUST Acts and the personal
13   information provision in the Values Act which allow for disclosure when the information is
14   already “available to the public.” And the TRUTH Act does not regulate the sharing of any
15   information. As a result, these statutes possess the qualities that eluded the jurisdictions’ facial
16   challenges in City of New York and Chicago, and underscore the serious constitutional issues that
17   the Second Circuit and the Northern District of Illinois found troubling in Section’s 1373’s
18   practical application. See Chicago, 2017 WL 4081821, at *12 (“practically limit[ing] the ability
19   of state and local governments to decline to administer or enforce a federal regulatory program”
20   could “implicate the logic underlying the Printz decision”).
21   IV.   WITHOUT COURT INTERVENTION, THE SECTION 1373 CONDITIONS WILL CAUSE
           THE STATE IMMINENT AND IRREPARABLE HARM
22

23         “[C]onstitutional violation[s] alone, coupled with the damages incurred, can suffice to show
24   irreparable harm.” Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1058-59 (9th
25   Cir. 2009) (relying on Morales v. Trans World Airlines, Inc., 504 U.S. 374 (1992)). Moreover,
26   injuries where “sovereign interests and public policies [are] at stake” are irreparable. Kansas v.
27   United States, 249 F.3d 1213, 1228 (10th Cir. 2001).
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                                                           25
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 1            California will suffer a constitutional injury to the State’s sovereignty if Defendants
 2   effectively coerce the State and its political subdivisions to carry out their federal immigration
 3   enforcement agenda, particularly under their misinterpretation of Section 1373. A plaintiff can
 4   suffer a constitutional injury by being forced either to comply with an unconstitutional law or else
 5   face community and financial injury. See Am. Trucking Ass’ns, Inc., 559 F.3d at 1058-59
 6   (plaintiffs were injured where they faced the choice of signing unconstitutional agreements or a
 7   loss of customer goodwill and business). Such is the case here where the State is confronted with
 8   making an unqualified certification of compliance under penalty of perjury under the shadow of
 9   Defendants’ misinterpretation of Section 1373, specifically as to the State’s law. Defendants’
10   November 1 letter makes clear that Defendants view the State as currently ineligible to receive
11   grant funds because of the Values Act, and that the State likely will face legal jeopardy should it
12   execute the certification based on Defendants’ erroneous interpretation of Section 1373.14 See
13   Morales, 504 U.S. at 380-81 (injunctive relief proper where “respondents were faced with a
14   Hobson’s choice: continually violate the Texas law and expose themselves to potentially huge
15   liability; or violate the law once as a test case and suffer the injury of obeying the law during the
16   pendency of the proceedings”).
17            Construing Section 1373 to invalidate the State’s statutes will also cause real harm to our
18   communities, no matter what the State does. If the State changes its laws to comply with an
19   unlawful and constitutionally impermissible interpretation of Section 1373, the relationship of
20   trust that these State statutes are intended to build between law enforcement and immigrant
21   communities will erode. See McDonnell Decl., ¶¶ 10, 12; San Francisco Compl., ¶ 28.
22   Alternatively, if the State preserves its laws and Defendants cut millions of dollars in JAG
23   funding that the State is otherwise entitled to by statutory formula, the State would be unable to
24   fund critical public safety programs, see Jolls Decl., ¶ 19; Caligiuri Decl., ¶¶ 19-22, and local
25   jurisdictions’ programs will be detrimentally impacted, including the possibility that programs
26
     14
       Even if the State submits a statement explaining why the State’s laws comply with Section
27   1373, notwithstanding Defendants’ misinterpretation, the State still has to submit the standard
     certification required by Defendants in order to receive funding, and Defendants may deny the
28   State funding on the basis of this explanatory statement.
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 1   and staff positions will be eliminated in their entirety. See McDonnell Decl., ¶¶ 8-9, 15; S.F.
 2   Compl., ¶ 46; see United States v. North Carolina, 192 F. Supp. 3d 620, 629 (M.D.N.C. 2016)
 3   (finding irreparable harm where the lack of funds was “likely to have an immediate impact on
 4   [the state’s] ability to provide critical resources to the public, causing damage that would persist
 5   regardless of whether funding [was] subsequently reinstated”). Furthermore, without any
 6   guidance from Defendants, BSCC will be placed in the position of having to monitor subgrantees
 7   and report them for having policies that the State and/or the subgrantees determined benefit
 8   public safety. See RJN, Ex. J, ¶¶ 53(3), 54(1)(D); see also Jolls Decl., ¶¶ 21-22.
 9         The harm to the State from the loss of COPS grants is at least as immediate. USDOJ is
10   poised to issue COPS awards and demand compliance with applicable laws, including Section
11   1373, based on their apparent misreading of the statute. See supra at 12-13. If CalDOJ does not
12   receive the COPS grants based on Defendants’ interpretation of Section 1373 or they are
13   conditioned based on this misinterpretation, CalDOJ will be unable to fund task forces and
14   equipment that combat heroin and methamphetamine distribution, creating harm that will extend
15   to the local jurisdictions that those task forces serve. See Caligiuri Decl., ¶¶ 10, 16.
16         The damages incurred here—the deprivation of constitutional rights, the loss of community
17   goodwill, decrease in public safety, and the loss of millions of dollars of funding —“suffice to
18   show irreparable harm.” See Am. Trucking Ass’ns, Inc., 559 F.3d at 1058; Stuller, Inc. v. Steak N
19   Shake Enterprises, Inc., 695 F.3d 676, 680 (7th Cir. 2012) (injuries to goodwill not easily
20   measurable and often irreparable). These are the same types of damages that the court in Chicago
21   recently found to be irreparable in enjoining other immigration enforcement related conditions for
22   JAG. See Chicago, 2017 WL 4081821, at *12-14.
23   V.    THE BALANCE OF HARDSHIPS FAVORS GRANTING A PRELIMINARY INJUNCTION
24         A party seeking a preliminary injunction “must establish . . . that the balance of equities tips
25   in his favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. These two
26   factors merge when the government is a party. Nken v. Holder, 556 U.S. 418, 435 (2009). And
27   the balance of the hardships and public interest both favor “‘prevent[ing] the violation of a party’s
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       Plaintiff’s Not. of Am. Mot. and Am. Motion for Preliminary Injunction; MPA in Support Thereof (17-cv-4701)
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 1   constitutional rights.’” Ariz. Dream Act Coalition v. Brewer, 757 F.3d 1053, 1069 (9th Cir. 2014)
 2   (quoting Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)).
 3         Here, the balance of the hardships and the public interest favors an injunction. California
 4   has determined that the public safety requires protecting its residents’ personal information and
 5   limiting law enforcement’s entanglement in immigration enforcement. Defendants are forcing
 6   California, under extreme time pressure, to consider undermining these policies to avoid losing
 7   critical federal funding. An injunction protects the public interest in shielding the State’s
 8   sovereignty from unconstitutional conditions without harm to the federal government’s ability to
 9   enforce federal laws with federal resources.
10         The Government “is in no way harmed by issuance of a preliminary injunction which
11   prevents the [federal government] from enforcing restrictions likely to be found unconstitutional.
12   If anything, the system is improved by such an injunction.” See Giovani Carandola, Ltd. v.
13   Bason, 303 F.3d 507, 521 (4th Cir. 2002) (citation omitted). This is particularly true when an
14   injunction protects a State’s interest in “the exercise of sovereign power over individuals and
15   entities within . . . [their] jurisdiction that involves the power to create and enforce a legal code,
16   both civil and criminal.” See Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S.
17   592, 601 (1982). The potential impact on numerous local jurisdictions further tips the balance of
18   interests. See, e.g., McDonnell Decl., ¶ 8-9, 15; S.F. Compl., ¶ 46. In contrast, Defendants face
19   no harm since the status quo would remain, and they would only have to provide money that
20   Congress has already appropriated.
21                                                CONCLUSION
22         For the foregoing reasons, California requests this Court grant its Motion.
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